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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    CARMEN JOHN PERRI, an individual,

 9                                   Plaintiff,             Case No. 2:19-cv-01853 BJR

10            V.                                            ORDER GRANTING STIPULATED
                                                            MOTION FOR DISMISSAL WITH
11    EL GAUCHO SEATTLE, LLC, a Washington                  PREJUDICE
      limited liability company,
12                               Defendants.

13
      ORDER GRANTING STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE
14
            Based upon the Stipulation of the parties it is hereby:
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            ORDERED that the above-captioned action be dismissed with prejudice and without an
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     award of costs or attorneys' fees to any party. The Clerk of the Court shall close this case.
17
            IT IS SO ORDERED this 20th day of February, 2020.
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     ORDER GRANTING STIPULATED MOTION FOR DISMISSAL
     WITH PREJUDICE - 1
     (Case No. 2:19-cv-01853 BJR)
              Case 2:19-cv-01853-BJR Document 13 Filed 02/20/20 Page 2 of 2



 1        Jointly Presented By:

 2
     THE LAW OFFICES OF DANN. FIORITO III      JACKSON LEWIS P.C .
 3

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 8
                                                     Attorneys for Defendant
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     ORDER GRANTING STIPULATED MOTION FOR DISMISSAL
     WITH PREJUDICE - 2
     (Case No. 2:19-cv-01853 BJR)
